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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

                                CASE NO. 8:16-cv-03255-EAK-MAP

    SLADJANA PERISIC, on behalf of
    herself and others similarly situated,

           Plaintiff,

    vs.

    ASHLEY FURNITURE INDUSTRIES, INC.,
    a Wisconsin corporation,

          Defendant.
    _______________________________________/

    AGREED JOINT MOTION TO HOLD MATTER IN ABEYANCE FOR 30 DAYS

           Plaintiff Sladjana Perisic and Defendant Ashley Furniture Industries, Inc. (together,

    the “Parties”), by and through their undersigned counsel, respectfully move this Court to

    hold in abeyance for 30 days any ruling on Defendant’s Motion for Summary Judgment,

    filed on February 6, 2018 (Dkt #40) and Order to Show Cause Re Subject Matter

    Jurisdiction (Dkt #107), for the purpose of allowing the Parties to attempt to reach

    resolution by settlement.

           In support of their motion, the Parties state:

           1.      On June 26, 2018, the Parties advised the Court that the mediation before

    the Honorable Scott J. Silverman (Ret.) had concluded without a settlement. (Dkt. #98.)

           2.      On August 30, 2018, and again on September 5, 2018, the Parties met and

    conferred and agreed that holding in abeyance for 30 days any ruling on Defendant’s




                             BILZIN SUMBERG BAENA PRICE & AXELROD LLP
                                1450 Brickell Avenue, Suite 2300, Miami, FL 33131-3456
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    Motion for Summary Judgment or the Court’s Order to Show Cause Re Subject Matter

    Jurisdiction would promote judicial economy by allowing the Parties to attempt to reach

    resolution by settlement.

           3.      The Parties further agreed that should settlement talks break down at any

    time during such 30-day period, any Party shall have the right to seek to have the order of

    abeyance lifted.

           WHEREFORE, the Parties respectfully request that the Court grant this motion and

    hold in abeyance for 30 days any ruling on Defendant’s Motion for Summary Judgment or

    the Court’s Order to Show Cause Re Subject Matter Jurisdiction.




                            BILZIN SUMBERG BAENA PRICE & AXELROD LLP
                               1450 Brickell Avenue, Suite 2300, Miami, FL 33131-3456
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    Respectfully submitted,

     By: /s/ Mitchell E. Widom                          By: /s/ Mikael H. Stahle

     Mark D. Campbell (Pro Hac Vice)                    Matthew J. Matern (Pro Hac Vice)
     Rachel A. Straus (Pro Hac Vice)                    Mikael H. Stahle (Pro Hac Vice)
     Sidley Austin, LLP                                 MATERN LAW GROUP, PC
     555 West Fifth Street, 40th Floor                  1230 Rosecrans Avenue, Suite 200
     Los Angeles, California 90013                      Manhattan Beach, California 90266
     Tel: (213) 896-6000                                Telephone: (310) 531-1900
     Fax: (213) 896-6600                                Facsimile: (310) 531-1901
     mcampbell@sidley.com                               mmatern@maternlawgroup.com
     rstraus@sidley.com                                 mstahle@maternlawgroup.com

     Mitchell E. Widom                                  Julie Braman Kane, Fl. Bar No. 980277
     Fl. Bar No. 473911                                 Stephanie A. Casey, Fl. Bar No. 97483
     Lori P. Lustrin                                    COLSON HICKS EIDSON, P.A.
     Fl. Bar No. 59228                                  255 Alhambra Circle, Penthouse
     Bilzin Sumberg Baena Price                         Coral Gables, Florida 33134
     & Axelrod, LLP                                     Telephone: (305) 476-7400
     1450 Brickell Avenue, Suite 2300                   Facsimile: (305) 476-7444
     Miami, Florida 33131                               julie@colson.com
     Tel: (305) 374-7580                                scasey@colson.com
     Fax: (305) 374-7593
     mwidom@bilzn.com                                   Counsel for Plaintiff and Putative Class
     llustrin@bilzn.com

     Counsel for Defendant




                              BILZIN SUMBERG BAENA PRICE & AXELROD LLP
                                 1450 Brickell Avenue, Suite 2300, Miami, FL 33131-3456
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                                CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on this 6th day of September, 2018, I electronically filed

    a true and correct copy of the foregoing Agreed Joint Motion to Hold in Abeyance for

    30 Days Ruling on Defendant’s Motion for Summary Judgment with the Clerk of the

    Court for the United States District Court for the Middle District of Florida using the

    CM/ECF system, which will send notification of such filing to all counsel of record (see

    below Service List).


                                                   BY: /s/ Mitchell E. Widom
                                                          Mitchell E. Widom




                           BILZIN SUMBERG BAENA PRICE & AXELROD LLP
                              1450 Brickell Avenue, Suite 2300, Miami, FL 33131-3456
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                                        SERVICE LIST

                     UNITED STATES DISTRICT COURT
               MIDDLE DISTRICT OF FLORIDA – TAMPA DIVISION
                   Sladjana Perisic v. Ashley Furniture Industries, Inc.
                          Case No. 8:16-cv-03255-EAK-MAP


    Mitchell E. Widom                             Julie Braman Kane
    Fl. Bar No. 473911                            Fl. Bar No. 980277
    Email: mwidom@bilzn.com                       Email: julie@colson.com
    Lori P. Lustrin                               Stephanie A. Casey
    Fl. Bar No. 59228                             Fl. Bar No. 97483
    Email: llustrin@bilzn.com                     Email: scasey@colson.com
    Bilzin Sumberg Baena Price                    Colson Hicks Eidson, P.A.
    & Axelrod, LLP                                255 Alhambra Circle, Penthouse
    1450 Brickell Avenue, Suite 2300              Coral Gables, Florida 33134
    Miami, Florida 33131                          Tel: (305) 476-7400
    Tel: (305) 374-7580                           Fax: (305) 476-7444
    Fax: (305) 374-7593                           Counsel for Plaintiff and Putative Class
    Counsel for Defendant

    Mark D. Campbell (Pro Hac Vice)               Matthew J. Matern (Pro Hac Vice)
    Email: mcampbell@sidley.com                   Email: mmatern@maternlawgroup.com
    Rachel A. Straus (Pro Hac Vice)               Mikael H. Stahle (Pro Hac Vice)
    Email: rstraus@sidley.com                     Email: mstahle@maternlawgroup.com
    Sidley Austin, LLP                            Matern Law Group, PC
    555 West Fifth Street, 40th Floor             1230 Rosecrans Avenue, Suite 200
    Los Angeles, California 90013                 Los Angeles, California 90266
    Tel: (213) 896-6000                           Tel: (310) 531-1900
    Fax: (213) 896-6600                           Fax: (310) 531-1901
    Counsel for Defendant                         Counsel for Plaintiff and Putative Class




                         BILZIN SUMBERG BAENA PRICE & AXELROD LLP
                            1450 Brickell Avenue, Suite 2300, Miami, FL 33131-3456
